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                EXHIBIT A




                                                                 APP00004
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Case 3:19-cv-00764-X Document 239 Filed 01/02/20                                     Page 8 of 35 PageID 8104

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                EXHIBIT B




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                                                                  APP00008
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

VEROBLUE FARMS USA, INC.                      )
                                              )
       Plaintiff/Counterdefendant,            )
                                              )       No. 19-cv-00764-X
       v.                                     )
                                              )
LESLIE A. WULF, BRUCE A. HALL                 )
JAMES REA, JOHN E. REA, and                   )
KEITH DRIVER,                                 )
                                              )       Hon. Brantley Starr
       Defendants/Counterplaintiffs,          )
                                              )
       v.                                     )
                                              )
EVA EBSTEIN, JENS HARKOETTER                  )
BJORN THELANDER, ANDERS                       )
WESTER, NORMAN MCCOWAN,                       )
DR. OTTO HAPPEL, and ALDER                    )
AQUA, LTD.                                    )
                                              )
       Third-Party Defendants.                )
                                              )


      FOUNDER DEFENDANTS’ REQUEST FOR PRODUCTION OF DOCUMENTS
                        TO ALDER AQUA, LTD.



TO:    Third Party Defendant, Alder Aqua, Ltd., through its attorney, John Kincade, Winstead,
       LLP, 2728 N. Harwood Street, 500 Winstead Building, Dallas, Texas 75201,
       jkincade@winstead.com

       Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Third Party Plaintiffs, Leslie

A. Wulf (“Wulf”), Bruce A. Hall (“Hall”), James Rea (“James Rea”), and John E. (Ted) Rea

(“Ted Rea”), (collectively, “Founder Defendants”) in the above-entitled and numbered cause,

and hereby serve their Request for Production of Documents to Third Party Defendant, Alder

Aqua, Ltd. (“Alder”). Alder is hereby required to produce the following described documents


DEFENDANTS’ 2nd REQUEST FOR PRODUCTION OF DOCUMENTS TO VBF                                   Page 1
1509879v1 - V0265.00001 RFPs to Alder
                                                                                    APP00012
Case 3:19-cv-00764-X Document 239 Filed 01/02/20                   Page 15 of 35 PageID 8111



for inspection and copying at the offices of Underwood Perkins, PC, 5420 LBJ Freeway, Suite

1900, Dallas, Texas 75214, within thirty (30) days of service of this request. Unless otherwise

stated, this request covers the period of January 1, 2014 to the present.


                                            INSTRUCTIONS

       1.      Answer each request separately and fully in accordance with Rule 34 of the
Federal Rules of Civil Procedure, the Local Rules for the United States District Court for the
Northern District of Texas, and the Instructions and Definitions contained herein.

        2.      Any word in the singular shall be construed in the plural and any word written in
the plural shall be construed as a singular where necessary to facilitate complete answers.

        3.     Your answer to each request should include all knowledge within your custody,
possession or control. Where facts set forth in your responses or portions thereof are supplied
upon information and belief rather than actual knowledge, so state and specifically describe or
identify the source or sources of such information and belief. If any estimate can reasonably be
made in place of unknown information, set forth your best estimate, clearly designated as such,
in place of unknown information, and describe the basis upon which the estimate is made. If you
cannot respond to the request in full after exercising due diligence to secure the information
requested, so state and respond to the fullest extent possible, specifying your inability to answer
the remainder and state any information or knowledge you have concerning the unanswered
portion.

        4.      You are required to conduct a reasonable search of any and all responsive
documents within your custody or control. The locations in which to search for such documents
includes, but is not limited to, means or devices by which data is stored or preserved electrically,
electronically, magnetically or mechanically, and native production of any such responsive
document located through such means or devices must include the program or software from
which the document was created or stored. Where native production is unnecessary to properly
view, read or utilize the electronic data, a non-native production in .pdf or .tiff format is
acceptable so long as all native material is maintained in its native format and can be produced
upon further request.

        5.     Each request and subpart are to be answered separately and as completely as
possible. The fact that investigation is continuing or that discovery is not complete shall not
excuse the failure to answer each request as fully as is presently possible. The omission of any
document from the responses hereto shall be deemed a representation that such document did not
exist or was not known to Plaintiff and/or counsel at the time of service of the responses.

        6.      To the extent any request is objected to, set forth all reasons for your objection
with specificity. If you claim privilege as a ground for not answering any request in whole or in
part, describe the factual basis for your claim of privilege, including relevant dates and persons


DEFENDANTS’ 2nd REQUEST FOR PRODUCTION OF DOCUMENTS TO VBF                                     Page 2
1509879v1 - V0265.00001 RFPs to Alder
                                                                                      APP00013
Case 3:19-cv-00764-X Document 239 Filed 01/02/20                  Page 16 of 35 PageID 8112



involved, in sufficient detail so as to permit the Court to adjudicate the validity of the claim. If
you object in part to any request, answer the remainder completely.

       7.       If you withhold any information or documents on the grounds of privilege,
provide a privilege log that identifies the following:
                a)     The author(s), addressee(s), recipient(s) or distributee(s), title, type of
           document (e.g., memorandum, letter or report) present custodian, location and date of
           all such information or documents;
                b)     All other persons who have seen or learned of all or part of any such
           information or documents;
                c)     The method by which, and reasons why, each such person obtained access
           to such information or documents;
                d)     A description of each subject discussed, described or referred to in such
           information or document; and
                e)     The specific basis for your claim of privilege.

       8.      Where knowledge, information or documents in your custody, control or
possession is requested or referred to, such requests includes knowledge, information or
documents in the custody, control or possession of you of your agents, employees,
representatives and attorneys, including your counsel of record.

        9.      If any document was, but no longer is, in the possession of or subject to the
control of Plaintiff, state whether it:
                a)       Is missing or lost;
                b)       Has been destroyed;
                c)       Has been transferred, voluntarily or involuntarily, to others;
                d)       Has been otherwise disposed of; and
                e)       In each instance, explain the circumstances surrounding such disposition
            and state the date or approximate date thereof.

        10.     These requests are continuing in character and must be supplemented to the extent
required by the Federal Rules of Civil Procedure and the Local Rules of the United States
District Court for the Northern District of Texas.

        11.    Documents that were generated, or have ever been stored, in computer-readable
electronic form should be produced as follows:
               1)     All documents should be produced as single page Bates numbered, Group
                      IV TIFF file(s) with accompanying control file(s) in Concordance
                      Image/Opticon format or equivalent format, all made directly from the
                      electronic files (and not made from scanned hard copy versions or
                      printouts). You should also provide accompanying Concordance Load
                      files with all accompanying data (including, but not limited to, Bates
                      number information, document/file attachment information, all extracted
                      text, and all available metadata. Bates number information should include
                      the starting and ending Bates numbers for each document. Document/file
                      attachment information should include, in two separate fields, the starting


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                       Bates number for the primary document and the ending Bates numbers for
                       the last attachment. Separate extracted text (.txt) files containing extracted
                       text for each document should also be produced and organized in a manner
                       that is compatible with the Concordance load files. The Concordance load
                       files should clearly indicate the custodian (generally the person from
                       whose file system the file is taken or the network location of the file) of
                       each document.

               2)      In addition to the above Concordance load file and TIFF image files for all
                       documents produced, separate and additional copies of documents in
                       native format should also be produced for the following types of files:
                       word processing files (e.g., Word, WordPerfect), spreadsheet files (e.g.,
                       Microsoft Excel), presentation files (e.g., Microsoft PowerPoint), and
                       Adobe PDF files. These files should be produced with all “basic
                       metadata” intact. They should also have intact all "track changes"
                       information (including any related information such as author of the
                       changes, and whether the changes were accepted or rejected).

               3)      If any electronic documents are incapable of being produced in the
                       aforementioned manner, you are requested to contact counsel for Founder
                       Parties to discuss appropriate alternatives.

        12.    “Electronic Message” means any electronic text or media content exchanged
between two or more uses of a software application. Electronic messages include both SMS
messages sent over cellular networks and messages sent over the Internet using applications such
as WhatsApp, iMessage, Facebook Messenger, Twitter (via direct message), Slack, Google Chat
and many others. Electronic Messages as defined herein, shall be produced in a searchable
format that preserves the presentational features of the original messages, such as emojis,
images, video files, animations and the like. Electronic message must not be converted to
rasterized or non-unitized file formats such as PDF or TIFF. In general, messages should be
produced in the same format as that in which they were exported for purposes of collection,
search or review. As a general rule, messages can be produced in CSV (Comma Separate
Values) or JSON (JavaScript Object Notation) format.

        13.     Where no native electronic form of responsive documents exists, responsive
documents should be produced as single page TIFF file(s) and accompanying control file(s) in
Concordance Image/Opticom format or equivalent format. You should also produce
accompanying Concordance load files with Bates number information and document/file
attachment information. Any corresponding optical character recognition (OCR) versions of
these files that You have already generated or to which You have access should be produced
concurrently. Separate .txt files containing text captured using OCR for each document should
also be produced and organized in a manner that is compatible with the Concordance load
files. The Concordance load files should clearly indicate the custodian (generally the person
from whose paper files the document was taken or a description of where the document was
located) of each document.



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                                         DEFINITIONS

   1. Plaintiff” or “VBF” shall refer to VeroBlue Farms USA, Inc., and its agents and
employees, the Plaintiff in this lawsuit and includes VBF Operations, Inc., VBF Transport, Inc.,
VBF IP, Inc., and Iowa’s First, Inc.

    2. “You,” “Your,” “Alder” shall mean Alder Aqua, Ltd., one of the third party defendants
in the Lawsuit, together with any agent, officer, employee, representative, consultant, attorney,
or other person acting under the direction or supervision of such party, subject to the control of
such party, or representing such party, in any capacity for any purpose.

   3. “Complaint” shall refer to the operative complaint VeroBlue Farms USA, Inc. v. Wulf et
      al., Case No. 19-cv-0764-X pending in the Northern District of Texas.

    4. “Lawsuit” shall refer to the above-captioned matter, VeroBlue Farms, USA, Inc. v. Wulf,
et al., both while it was pending the United States District Court for the Northern District of
Iowa as case No. 3:18-CV-3047-LTS, and since it has been pending in the United State District
Court for the Northern District of Texas, as Case No. 18-CV-0764-X.

    5. “TPC” shall refer to the operative third-party claim filed by Defendants Leslie A. Wulf,
Bruce A. Hall, James Rea, John E. (“Ted”) Rea against You and others in VeroBlue Farms USA,
Inc. v. Wulf, et al., Case No. 3:19-cv-0764-X (Dot. Nos. 66 and 169)

   6. “Defendants” shall mean any of the Defendants to the lawsuit.

    7. “Document” or “documents” shall mean every “document” within the widest
permissible scope of the Federal Rules of Civil Procedure, including, without limitation, every
original (and every copy of any original or copy which differs in any way from any original) of
every writing or recording of every kind or description, whether handwritten, typed, drawn,
sketched, printed, or recorded or maintained by any physical, mechanical, electronic, or electrical
means whatsoever, including, without limitation, Electronic Messages, as defined previously,
electronic communications or databases, emails (including, without limitation, received emails,
sent emails, and deleted emails together with all attachments), text messages, social media
(including but not limited to posts or messages from or on Facebook, Twitter, LinkedIn,
Instagram, Snapchat, and WhatsApp), SMS, MMS, BBM, or other instant message system or
format, books, records, papers, pamphlets, brochures, circulars, advertisements, specifications,
notebooks, worksheets, reports, lists, analyses, summaries, tax returns, financial statements,
profit and loss statements, cash flow statements, balance sheets, annual or other periodic reports,
calendars, appointment books, diaries, telephone bills and toll call records, expense reports,
commission statements, itineraries, agendas, check books, canceled checks, receipts, agreements,
applications, offers, acceptances, proposals, purchase orders, invoices, written, electronic or
otherwise recorded memorials of oral communications, forecasts, photographs, photographic
slides or negatives, films, film strips, tapes and recordings, any electronically stored information
and all metadata relating to electronically stored information. Each non-identical original or copy
of a document, as well as each non-identical storage medium, is a separate document. This



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discovery request applies to all documents created, received, or known by the responding party
as of the date of the response to this discovery request.

       8.      “Amstar” shall mean Amstar Group LLC, together with any agent, officer,
employee, representative, consultant, attorney, or other person acting under the direction or
supervision of such party, subject to the control of such party, or representing such party, in any
capacity for any purpose.

        9.     “Happel” shall mean Dr. Otto Happel, and his agents, representatives, attorneys,
or other persons acting under his direction or supervision, including, but not limited to, entities
referred to as: “Avion AG & Co KG,” “Posteo,” the email address “Poste.de”, and/or “Lufin
Partners”.

        10.     “Haarköetter” shall mean Jens Haarköetter and his agents, representatives,
attorneys, or other persons acting under his direction or supervision, including, but not limited to,
entities referred to as: “Avior AG & Co KG,” “Posteo,” the email address “Poste.de”, and/or
“Lufin Partners”.

         11.     “Ebstein” shall mean Eva Happel Ebstein, and her agents, representatives,
attorneys, or other persons acting under her direction or supervision, including, but not limited
to, entities referred to as “Chronos Swiss,” “DNW,” or any entity using the email address ending
in “ebstein.com.”

       12.     “Wester” shall mean Anders Wester, and his agents, representatives, attorneys, or
other persons acting under his direction or supervision.

       13.      “McCowan” shall mean Norman McCowan, and his agents, representatives,
attorneys, or other persons acting under his direction or supervision.

       14.      “Thelander” shall mean Bjorn Thelander, and his agents, representatives,
attorneys, or other persons acting under his direction or supervision.

       15.     “Sheriff” shall mean Rick Sheriff and his agents, representatives, attorneys, or
other persons acting under his direction or supervision.

       16.     “Directors” shall mean one or more of Terry Lyons, Kenneth Lockard, Gregg
Sedun, Jens Haarkoetter, Bjorn Thelander, Anders Wester, Alan Sutherland, and anyone else
who, at any relevant time, was on the board of directors of VBF.

        17.      “BAJJER Stock Scheme” shall mean the allegation raised against Defendants as
set forth in the Complaint.

        18.   “American Growth Funding Loan Scheme” shall mean the allegation raised
against Defendants as set forth in the Complaint.




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        19.      “Wulf Lake House Scheme” shall mean the allegation raised against Defendants
as set forth in the Complaint.

        20.    “Sedun Stock Scheme” shall mean the allegation raised against Defendants as set
forth in the Complaint.

        21.      “Compensation Scheme” shall mean the allegation raised against Defendants as
set forth in the Complaint.

        22.      “Christine Gagne Scheme” shall mean the allegation raised against Defendants
as set forth in the Complaint.

        23.      “Tractor-Trailer Scheme” shall mean the allegation raised against Defendants as
set forth in the Complaint.

      24.      “OFA Scheme” shall mean the allegation raised against Defendants as set forth in
the Complaint.

       25.     “Broadmoor” shall mean Broadmoor Financial, L.P. and all amendments,
modifications, extensions thereto.

        26.   “Amstar Loan Documents” shall mean that certain Loan Agreement between
VBF and Iowa's First Inc. as borrowers, the subsidiaries of the borrowers as guarantors, and
Amstar as agent and lender dated July 7, 2016, as amended by that First Amendment to the Loan
Agreement dated June 27, 2017, and as further amended by that Second Amendment to the Loan
Agreement dated September 21, 2017, and that certain Security Agreement dated July 7, 2016,
and all amendments, modifications, extensions thereto.

       27.     “Broadmoor Loan Documents” shall mean the agreement whereby Amstar sold
to Broadmoor all right, title and interest in the Amstar Loan Agreement and all amendments,
modifications, extensions thereto.

       28.     “Grower Model” shall mean a program through which VBF would chose
designated growers of fish and those designated growers would use their own farmland, capital,
and skilled labor force to create a supply of fish for VBF and, in return for the supply of fish,
VBF would make certain payments according to an index on trailing sales.

       29.      “Corporate-Owned Model” shall mean a program through which VBF would
build out and own all of the facilities used in VBF’s business and would create a supply of fish
from start to finish.

        30.     “Bankruptcy Proceeding” means the Chapter 11 proceeding filed by VBF and
certain of its subsidiaries, styled In re: VeroBlue Farms USA, Inc. et al., Case No. 18-01297,
pending in the United States Bankruptcy Court for the Northern District of Iowa.




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        31.     “Person” means any individual, partnership, sole proprietorship, corporation,
government or governmental body, commission, board, agency, or any other entity or any
director, officer, shareholder, employee, agent, representative, and attorney thereof.

        32.     “Regarding” or “related to” or “relating to” shall mean mentioning, referring to,
applying to, containing, enumerating, involving, or in any way concerning, in whole or part,
directly or indirectly.

        33.     “Regarding” or “related to” or “relating to” shall mean mentioning, referring to,
applying to, containing, enumerating, involving, or in any way concerning, in whole or part,
directly or indirectly.

       34.    The term “date” means the exact year, month and date, if known or, if not, your
best approximation thereof.

        35.     As used herein the term “all” refers to any and all, and the term “any” likewise
refers to any and all.

       36.     The term “and” as well as “or” shall be construed either disjunctively or
conjunctively as necessary to being within the scope of this request any document which might
otherwise be construed to be outside its scope.

       37.     The relevant timeframe for these requests is January 1, 2014, to present.

                               REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: All Documents and non-privileged communications
relating to the BAJJER Stock Scheme allegation in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 2: All Documents and non-privileged communications
relating to the American Growth Funding Loan Scheme allegation in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 3: All Documents and non-privileged communications
relating to the Wulf Lake House Scheme allegation in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 4: All Documents and non-privileged communications
relating to the Sedun Stock Scheme allegation in the Complaint.

       RESPONSE:



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REQUEST FOR PRODUCTION NO. 5: All Documents and non-privileged communications
relating to the Compensation Scheme allegation in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 6: All Documents and non-privileged communications
relating to the Christine Gagne Scheme allegation in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 7: All Documents and non-privileged communications
relating to the Tractor-Trailer Scheme allegation in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 8: All Documents and non-privileged communications
relating to the OFA Scheme allegation in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 9: All Documents and non-privileged communications
relating to VBF’s allegation that Defendants misappropriated VBF cash and other assets in the
Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 10:                          All Documents and non-privileged
communications relating to VBF’s allegation that Defendants fraudulently concealed any alleged
misappropriations or other misconduct in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 11:                       All Documents and non-privileged
communications relating to VBF’s allegation that Defendants expended VBF funds or assets
during a July 2014 trip “to Denver, Colorado in relation to a non-VBF business known as
ChipMeds, Inc.” in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 12:                       All Documents and non-privileged
communications relating to VBF’s allegation that Wulf’s personal cell phone bills were “well
beyond a reasonable amount, or even the amount expensed by the other Defendants” in the
Complaint.

       RESPONSE:



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REQUEST FOR PRODUCTION NO. 13:                        All Documents and non-privileged
communications relating to VBF’s allegation that James Rea expended VBF funds or assets on
his personal living expenses in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 14:                        All Documents and non-privileged
communications relating to VBF’s allegation that Defendants expended VBF funds or assets on
“exorbitant travel expenses…to or from Canada or Texas to Webster City, Iowa” in the
Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 15:                        All Documents and non-privileged
communications relating to VBF’s allegation that Defendants expended VBF funds or assets on
“the unnecessary leasing of twenty-two company vehicles, including Ford Explorers for
Defendants’ personal use” in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 16:                           All Documents and non-privileged
communications relating to VBF’s allegation that Defendants expended VBF funds or assets on
“payment of personal travel expenses for Defendants and some or all of Defendants’ friends and
family, including trips to Australia and Norway” in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 17:                        All Documents and non-privileged
communications relating to VBF’s allegation that Defendants expended VBF funds or assets on
“directing VBF’s controller to perform accounting services for the Defendants’ non-VBF
business ventures while on VBF company time and while he was being paid by VBF” in the
Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 18:                        All Documents and non-privileged
communications relating to VBF’s allegation that the house in Webster City, Iowa “was worth
$240,000, if not less” in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 19:                          All Documents and non-privileged
communications relating to VBF’s allegation that the house in Webster City, Iowa “was not
necessary for legitimate business reasons” in the Complaint.

       RESPONSE:


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REQUEST FOR PRODUCTION NO. 20: All Documents and communication relating to any
instance in which any Alder representative, including Happel, Ebstein, Thelander, Haarkoetter
and/or Wester, stayed at the Webster City, Iowa house while on VBF business.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 21:                        All Documents and non-privileged
communications relating to VBF’s allegation that Defendants expended VBF funds or assets on
“other improper expenditures … for some or all of Defendants’ personal expenses” in the
Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 22:                           All Documents and non-privileged
communications relating to VBF’s allegation that Defendants violated their fiduciary duty of due
care by “overbuilding [VBF’s] facilities” in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 23:                         All Documents and non-privileged
communications relating to VBF’s allegation that Defendants violated their fiduciary duty of due
care by “presenting highly flawed and intentionally manipulated business plans” in the
Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 24:                         All Documents and non-privileged
communications relating to VBF’s allegation that Defendants violated their fiduciary duty of due
care by “mismanaging technology” in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 25:                         All Documents and non-privileged
communications relating to VBF’s allegation that Defendants violated their fiduciary duty of due
care by “mismanaging capital expenditures” in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 26:                          All Documents and non-privileged
communications relating to VBF’s allegation that Defendants violated their fiduciary duty of due
care by “mismanaging other financial and operational issues” in the Complaint.

       RESPONSE:




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REQUEST FOR PRODUCTION NO. 27:                           All Documents and non-privileged
communications relating to VBF’s allegation that Defendants violated their fiduciary duty of due
care by “overpaying for real and personal property” in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 28:                         All Documents and non-privileged
communications relating to VBF’s allegation that Defendants violated their fiduciary duty of due
care by “squandering what had been an investment of approximately $100,000,000 in debt and
equity in VBF” in the Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 29:                         All Documents and non-privileged
communications referring or relating to the Broadmoor Loan Documents.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 30: All Documents and communications related to the
Amstar Loan Documents, including but not limited to, any notices of default or nonpayment of
such Loan, and any presentation to Alder related to any default by VBF under the Amstar Loan
Documents.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 31: All Documents and Communications between
Alder and any representative of VBF, Amstar or Broadmoor that refer or relate to Defendants.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 32:                             All Documents and non-privileged
communications referring or relating to Alder’s investigation of Defendants and/or the
allegations of the Complaint, including but not limited to, retention correspondence with third
parties, internal investigations, reports and/or compliance memoranda.

       RESPONSE:


REQUEST FOR PRODUCTION NO. 33: All Documents and communications between You
and any other Third-Party Defendant (Happel, Ebstein, Haarkoetter, Wester, or McCowan)
referring or relating to any of the allegations of the Complaint and/or the Third-Party Complaint.

       RESPONSE:




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REQUEST FOR PRODUCTION NO. 34: All Documents and communications between You
and any representative of Amstar referring or relating to any of the allegations of the Complaint
and/or the Third-Party Complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 36: All Document and communications between You,
on the one hand, and any representative, agent or principal of M Consult, LLC, on the other
hand, referring or relating to Defendants and/or VBF.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 37:                       All Documents and non-privileged
communications referring or relating to Your approval, as a majority shareholder, of VBF’s
pursuit of a Grower Model program.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 38:                          All Documents and non-privileged
communications referring or relating to Your approval, as majority shareholder, of VBF’s pursuit
of a Corporate-Owned Model program.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 39:                         All Documents and non-privileged
communications referring or relating to VBF’s efforts to restructure the Amstar secured debt,
specifically including, but not limited to, to ING Bank’s offer of a term sheet to VBF at an
interest rate of 4.5%.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 40:                           All Documents and non-privileged
communications referring or relating to Alder’s exercise of warrants for VBF stock.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 41:                        All Documents and non-privileged
communications referring or relating to any agreement between Alder and Amstar regarding
Alder’s exercise of warrants for VBF stock in connection with Amstar’s extension of credit to
VBF.

       RESPONSE:




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REQUEST FOR PRODUCTION NO. 42: All Documents and communications regarding any
and all allegations of impropriety or misconduct by Haarköetter, by You, VBF, the VBF Board,
including, but not limited to, retention correspondence with third parties, internal investigations,
reports and/or compliance memoranda.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 43: All Documents and communications regarding
Your knowledge of any and all VBF employee complaints against Haarköetter.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 44: All Documents and communications regarding
Your negotiation of Defendants’ compensation at VBF.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 45: All Documents and communications regarding
Your negotiation, compliance, and/or refusal to comply of Defendants’ separation agreements
with VBF.

       RESPONSE

REQUEST FOR PRODUCTION NO. 46: All Documents and communications relating to
Your approval, as controlling shareholder, of VBF’s decision not to pay B. Hall and T. Rea
amounts due under their Termination Agreement (as that term is defined in the TPC) between
October 27 and November 15, 2017.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 47: All Documents and communication relating to
Your approval, as a controlling shareholder, of VBF’s decision not to pay Leslie Wulf amounts
set forth in his Separation Agreement (as that term is defined in the TPC) after December 1,
2017, including but not limited to, payment of COBRA premiums.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 48: All Documents and communication relating to
Your approval, as controlling shareholder, of VBF’s decision to terminate James Rea for
“Egregious Cause” on or about January 8, 2018.

       RESPONSE:




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REQUEST FOR PRODUCTION NO. 49: All documents and communications that relate to
any representation of VBF’s FCR (as that term is defined in Complaint ¶ 58) that You relied
upon in connection with Your investment in VBF.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 50: All documents and communications that relate to
any representation of VBF’s stocking density (as that term is defined in Complaint ¶ 59) that
You relied upon in connection with Your investment in VBF.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 51: All documents and Communications that relate to
Your decision, as majority or controlling shareholder of VBF, to increase stocking density as
represented in VBF’s financial model.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 52: All documents and communications that relate to
any representation of VBF’s Mortality Rates (as that term is defined in Complaint ¶ 60) that You
relied upon in connection with Your investment in VBF.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 53: All documents and communications that relate to
any representation of VBF’s Water Quality (as that term is defined in Complaint ¶ 60) that You
relied upon in connection with Your investment in VBF.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 54: All documents and communications that relate to
any representation of VBF’s EBITDA (as that term is defined in Complaint ¶ 60) that You relied
upon in connection with Your investment in VBF.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 55: All communication between You and any of the
Defendants to the Lawsuit, after January 1, 2017.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 56: All Documents and communication relating to Your
approval, as controlling shareholder, of VBF’s decision to disregard the releases provided to B.
Hall and T. Rea in their Termination Agreements (as that term is defined in the TPC).

       RESPONSE:


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REQUEST FOR PRODUCTION NO. 57: All Documents and non-privileged communications
between You and any party to the Bankruptcy Proceedings that relates to Defendants, the
Lawsuit, the Complaint or the TPC.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 58: All documents and communications that relate to
any damages that VBF and/or Alder incurred resulting from the Creditors Committee Challenge
Notice and/or the participation of the Ad Hoc Equityholders’ Committee in the Bankruptcy
Proceeding (as alleged in Paragraphs 176-187.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 59: All documents and communications that relate to
Your decision, as controlling shareholder of VBF, to engage Jackson Walker as counsel for VBF
in negotiating termination agreements for any of the Defendants.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 60: All documents and communications that related to
Your decision, as controlling shareholder of VBF, to involve Davis Graham & Stubbs as counsel
for VBF in negotiating termination agreements for any of the Defendants.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 61: All documents and communications that evidence
any facts that were withheld from You, as controlling shareholder of VBF, in connection with
the negotiations and execution of termination agreements with any of the Defendants.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 62: All Documents and communications that relate to
Your approval of VBF’s euthanization of fish at any time since January 1, 2018, including but
not limited to, the euthanization that took place on or about December 8, 2018.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 63: All Documents and communications that relate to
Your approval of VBF’s decision to import clove oil from Australia to euthanize fish and who
was responsible for that decision.

       RESPONSE:




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REQUEST FOR PRODUCTION NO. 64: All Documents and communications that relate to
Your approval of VBF’s sale of euthanized fish for direct human or animal consumption and/or
the sale of euthanized fish for used in feed for human or animal consumption.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 65: All Documents and communications that evidence
any revenue earned by VBF since September 1, 2018.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 66: All Documents and communications that evidence
any proceeds that VBF obtained from the sale of its assets since January 1, 2018.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 67: All Documents and communications that evidence
the use of any proceeds that VBF obtained from the sale of its assets since January 1, 2018.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 68: All Documents and communications that relate to
any investigation, interest, due diligence, modeling, inquiry or review conducted by Generation
Investment Management into VBF, including but not limited to, all documents exchanged
between You and/or GIM.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 69: All documents and communications that relate to
any person or party who may be indemnifying You in relation to the TPC.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 70: All documents and communications that relate to
any person or party who may be paying Your legal expenses in connection with the TPC.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 71: All engagement letters with any counsel that you
have retained to represent you in connection with the TPC.

       RESPONSE:




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REQUEST FOR PRODUCTION NO. 72: All devices, including but not limited to, cell
phones, tablets, laptop computers, that may contain Electronic Messages that reference
Defendants, the Complaint and/or the TPC.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 73: All documents that evidence any compensation that
You paid to any individual in connection with services provided to VBF from July 2016 through
present, including but not limited to, salary, bonus, benefits, stock, deferred compensation or any
indirect benefits.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 74: All documents that evidence any profit, loan
repayment or other compensation that You received from VBF from July 2016 through present.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 75: All documents and communications that evidence
Your receipt of or Your reliance upon the April 2016 written representations, referenced in ¶¶
131, 145 and Ex. 28 to the complaint.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 76: All documents and communications that relate to
any investment that You made into VBF, in reliance on Defendant’s representations.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 77: All documents and communications that evidence
Your communication of representations made by Defendants to Amstar in connection with
Amstar’s loans to VBF.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 78: All documents and communication that relate to
Your decision as controlling shareholder in VBF to cease VBF’s business.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 79: All documents and communications that evidence
VBF’s allegations that the Alder representatives on VBF’s Board would have sought to cease
VBF’s business, but for Defendant’s fraud concealment, as alleged in ¶ 54 of the Complaint.

       RESPONSE:



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REQUEST FOR PRODUCTION NO. 80: All documents and communications that relate to
Your decision, as majority or controlling shareholder of VBF, to approve VBF’s draws on the
Amstar loan.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 81: All documents and communications that relate to
Your decision, as majority or controlling shareholder of VBF, to approve the uses of funds
obtained from VBF’s draws on the Amstar loan, including but not limited to, payments to
Canaccord Genuity, Keith Driver, Rick Sherriff, and termination payments to Hall, T. Rea and
Wulf.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 82: All documents and communications that relate to
Your decision, as majority or controlling shareholder of VBF, to value the Rick Sherriff’s shares
in VBF at $.28 per share as of July 2016, including but not limited to, any valuation reports that
VBF obtained to support this share value.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 83: All documents and communications that relate to
any valuation of VBF’s shares that You reviewed or relied on in connection with Your
investment in VBF.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 84: All documents and communications that relate to
Your decision, as majority or controlling shareholder of VBF, to approve of the engagement of,
retention of, and/or payment of Pranger Enterprises or its related entities.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 85: All documents and communications that relate to
your decision, as agent of Amstar to refuse requests from VBF to make draws on the Amstar
loan.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 86: All documents and communications that evidence
any relationship with Alder, Amstar, or Happel on the one hand, and Broadmoor or Dr. Rolf
Ruhfus, on the other hand.

       RESPONSE:




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REQUEST FOR PRODUCTION NO. 87: All documents and communications that evidence
any representative of Alder holding a position as officer, employee, director or agent of Amstar
between July 2016 and present.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 88: All documents and communications exchanged
between You and Amstar and/or Broadmoor that relate to allegations of misconduct against
Defendants.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 89: All Documents and communications that relate to
Ebstein’s direction to “try and avoid” payments to Defendants as set forth in her November 6,
2017 email to You attached as Exhibit E to the TPC.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 90: All Documents and communications that relate to
Ebstein’s statement in her November 6, 2017 email (TPC Ex. E) that “OH would like to address
everything that is urgent, but still no start going over-board with too generous funding.”

       RESPONSE:

REQUEST FOR PRODUCTION NO. 91: All Documents and communications that relate to
Alder’s appointment of Ebstein to the VBF Board of Directors.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 92: All Documents and communications that relate to
Alder’s appointment of Haarkoetter to the VBF Board of Directors.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 93: All Documents and communications that relate to
Alder’s appointment of Wester to the VBF Board of Directors.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 94: All Documents and communications that relate to
Alder’s appointment of Thelander to the VBF Board of Directors.

       RESPONSE:




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REQUEST FOR PRODUCTION NO. 95: All Documents and communications exchanged
between Alder and Ebstein, after Ebstein’s appointment to the VBF Board of Directors.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 96: All Documents and communications exchanged
between Alder and Haarkoetter, after Haarkoetter’s appointment to the VBF Board of Directors.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 97: All Documents and communications exchanged
between Alder and Wester after Wester’s appointment to the VBF Board of Directors.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 98: All Documents and communications exchanged
between Alder and Thelander, after Thelanders’s appointment to the VBF Board of Directors..

       RESPONSE:



Dated: December 3, 2019                       Underwood Perkins, P.C.


                                              /s/ Kimberly D. Annello
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                                              Two Lincoln Centre
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing instrument was

served upon all counsel of record, as listed below, via e-serve and/or email, on this 3rd day of

December, 2019.

       John Kincade
       Elliot Clark
       Winstead P.C.
       2728 N. Harwood Street
       500 Winstead Building
       Dallas, Texas 75201
       jkincade@winstead.com
       eclark@winstead.com




                                                      /s/ Kimberly D. Annello
                                                      Kimberly D. Annello




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